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                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA
                                      READING DIVISION



 In re:                                                         Chapter 13 Bankruptcy

           BASSAM H. DIB,
                                                                Bankruptcy No.
                                               Debtor


                                              CHAPTER 13 PLAN


√         Original
Date:     April 5, 2022
                          THE DEBTOR HAS FILED FOR RELIEF UNDER
                           CHAPTER 13 OF THE BANKRUPTCY CODE
                                 YOUR RIGHTS WILL BE AFFECTED
You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains
the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed
by the Debtor to adjust debts. You should read these papers carefully and discuss them with your attorney.
ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A WRITTEN
OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed
and become binding, unless a written objection is filed.
                     IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                     MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                  NOTICE OF MEETING OF CREDITORS



    Part 1: Bankruptcy Rule 3015.1(c) Disclosures



          ☐ Plan contains non-standard or additional provisions – see Part 9
          ☐ Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
          ☐ Plan avoids a security interest or lien – see Part 4 and/or Part 9
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 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE



§2(a) Plan payments (For Initial and Amended Plans):
        Total Length of Plan: 60 months.
        Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $7,800.00
        Debtor shall pay the Trustee $130.00 per month for 60 months
        ☐ Other changes in the scheduled plan payment are set forth in §2(d)

§2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages
(Describe source, amount and date when funds are available, if known): Rental income from 135 Furnace
Street, Allentown, PA.

§2(c) Alternative treatment of secured claims:
        √        None. If “None” is checked, the rest of §2(c) need not be completed.
        √        Sale of Real Property
                 See §7 below for detailed description
        √        Loan modification with respect to mortgage encumbering property:
                 See §4(f) below for detailed description

§2(d) Other information that may be important relating to the payment and length of Plan:
        √        None
§2(e) Estimated Distribution:
        A.       Total Priority Claims (Part 3)
                 1.       Unpaid attorney’s fees                                              $3,363.00
                 2.       Unpaid attorney’s costs                                             $0.00
                 3.       Other priority claims (e.g., priority taxes)                        $700.00
        B.       Total distribution to cure defaults                                          $0.00
        C.       Total distribution on secured claims (§§4(c) &(d))                           $0.00
        D.       Total distribution on general unsecured claims(Part 5)                       $ Pro rata
        E.       Estimated Trustee’s Commission                                               $ As per statute
        F.       Base Amount                                                                  $7,800.00

§2(f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

         √ By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s
Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive compensation pursuant to
L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s compensation in the total amount of
$4,250.00, with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan. Confirmation of
the plan shall constitute allowance of the requested compensation.
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 Part 3: Priority Claims


         §3(a) Except as provided in §3(b) below, all allowed priority claims will be paid in full unless the
creditor agrees otherwise.

                                                                     Claim                                   Amount to be
                          Creditor                                                   Type of Priority
                                                                    Number                                  Paid by Trustee

                                                                                    Debtor’s counsel’s
 Hartman, Valeriano, Magovern & Lutz, P.C.                                                                      $3,363.00
                                                                                           fees


                                                                                    2020 federal income
 Internal Revenue Service                                                                                        $700.00
                                                                                        tax liability


§3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

√ None. If “None” is checked, the rest of §3(b) need not be completed.



 Part 4: Secured Claims



§4(a) Secured Claims Receiving No Distribution from the Trustee:

          ☐ None. If “None” is checked, the rest of §4(a) need not be completed


                                                                                     Claim
                                  Creditor                                                                Secured Property
                                                                                    Number
 √ If checked, the creditor(s) listed below will receive no distribution from
 the trustee and the parties’ rights will be governed by agreement of the parties
 and applicable nonbankruptcy law.                                                               135 Furnace Street, Allentown, PA
            Nationstar Mortgage/Mr. Cooper


§4(b) Curing default and maintaining payments

          √ None. If “None” is checked, the rest of §4(b) need not be completed.

§4(c) Allowed secured claims to be paid in full: based on proof of claim or preconfirmation determination of
the amount, extent or validity of the claim

          √ None. If “None” is checked, the rest of §4(c) need not be completed.

§4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. §506

          √ None. If “None” is checked, the rest of §4(d) need not be completed.

§4(e) Surrender
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        √ None. If “None” is checked, the rest of §4(e) need not be completed.

§4(f) Loan Modification

      √ None. If “None” is checked, the rest of §4(f) need not be completed.


 Part 5: General Unsecured Claims

§5(a) Separately classified allowed unsecured non-priority claims

      √ None. If “None” is checked, the rest of §5(a) need not be completed.
§5(b) Timely filed unsecured non-priority claims

        (1)      Liquidation Test (check one box)

                 ☐ All Debtor’s(s’) property is claimed as exempt.

                   √ Debtor has non-exempt property valued at $1,875.50 for purposes of 1325(a)(4) and plan
provides for distribution of $7,176.00 to allowed priority and unsecured general creditors.

        (2)      Funding: §5(b) claims to be paid as follows (check one box):

                 √ Pro rata


 Part 6: Executory Contracts & Unexpired Leases


        √ None. If “None” is checked, the rest of § 6 need not be completed.


                                                                 Nature of              Treatment by Debtor
         Creditor                 Claim Number
                                                             Contract or Lease          Pursuant to §365(b)
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 Part 7: Other Provisions


§ 7(a) General principles applicable to the Plan
         (1) Vesting of Property of the Estate (check one box)
             √ Upon confirmation

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in
 its proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

          (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
 shall be made by the Trustee.

         (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which
 Debtor is the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable
 exemption will be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and
 general unsecured creditors, or as agreed by the Debtor and the Trustee and approved by the court.

 § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to
 such arrearage.

        (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition
 mortgage obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
 holder of the claims shall resume sending customary monthly statements.

          (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with
 coupon books for payments prior to the filing of the petition, upon request, the creditor shall forward post-
 petition coupon book(s) to the Debtor after this case has been filed.

Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth
above.

§ 7(c) Sale of Real Property

      √ None. If “None” is checked, the rest of § 7(c) need not be completed.
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 Part 8: Order of Distribution


 The order of distribution of Plan payments will be as follows:

        Level 1: Trustee Commissions*
        Level 2: Domestic Support Obligations
        Level 3: Adequate Protection Payments
        Level 4: Debtor’s attorney’s fees
        Level 5: Priority claims, pro rata
        Level 6: Secured claims, pro rata
        Level 7: Specially classified unsecured claims
        Level 8: General unsecured claims
        Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to
exceed ten (10) percent.


  Part 9: Non Standard or Additional Plan Provisions



    Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the
    applicable box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere
    in the Plan are void.

    √ None. If “None” is checked, the rest of Part 9 need not be completed.


 Part 10: Signatures


         By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
nonstandard or additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and
consent to the terms of this Plan.


Date:    April 5, 2022
                                                                George M. Lutz, Esquire
                                                                Attorney for Debtor(s)
